865 F.2d 1259Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank MILLS, Plaintiff-Appellant,v.H. HARTSOE, Deputy Jailer;  Officer Johnson, Jailer;Officer Turner, Jailer, Defendants-Appellees.
    No. 88-7753.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 31, 1988.Decided:  Jan. 3, 1989.Rehearing and Rehearing En Banc Denied March 3, 1989.
    
      Frank Mills, appellant pro se.
      Before CHAPMAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Frank Mills appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Mills v. Hartsoe, C/A No. 88-671-CRT (E.D.N.C. Sept. 6, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    